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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )         MJ No. 21-686
                                   )         Washington, D.C.
       vs.                         )         March 7, 2022
                                   )         2:10 p.m.
LUCAS DENNEY (2),                  )
                                   )
          Defendant.               )
___________________________________)


        TRANSCRIPT OF AUDIO-RECORDED STATUS HEARING
                         BEFORE THE
HONORABLE UNITED STATES MAGISTRATE JUDGE ZIA M. FARUQUI


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Proceedings recorded by mechanical stenography; transcript
produced by computer-aided transcription
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1                          P R O C E E D I N G S

2              COURTROOM DEPUTY:     All rise.

3              This court is now in session, Magistrate Judge Zia

4    M. Faruqui presiding.    Please be seated and come to order.

5              Good afternoon, Your Honor.       This is Magistrate

6    Case 21-686, United States of America versus Lucas Denney.

7              Mr. Denney is present in the courtroom, and this

8    matter is set for a status hearing.

9              Parties, please introduce yourselves for the

10   record, starting with the government.

11             MS. ROZZONI:    Good afternoon, Your Honor.

12   Jennifer Rozzoni on behalf of the United States.

13             MR. SHIPLEY:    Good afternoon, Your Honor.

14   William Shipley and Mr. John Pierce, who I believe is

15   present in court, on behalf of Defendant Lucas Denney.

16             MR. PIERCE:    It's great to finally see you in

17   person, Your Honor.

18             COURTROOM DEPUTY:     Mr. Denney, please stand and

19   raise your right hand.

20             (Defendant is placed under oath.)

21             COURTROOM DEPUTY:     Thank you.    You may be seated.

22             THE MAGISTRATE:     Mr. Pierce, are you sitting at

23   counsel table or (unintelligible)?

24             MR. PIERCE:    Yes, Your Honor.     Mr. Shipley is

25   going to be (unintelligible.)
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                                                                           5

1              THE MAGISTRATE:     Okay.

2              Mr. Denney, can you hear me all right?

3              COURTROOM DEPUTY:     Oh, one second, Judge.      Let's

4    make sure you're (unintelligible.)

5              THE MAGISTRATE:     Ms. Rozzoni, can you hear me all

6    right now?

7              MS. ROZZONI:    I can, Your Honor.

8              I thought I heard you speaking, but I don't think

9    your microphone was on.

10             THE MAGISTRATE:     I was going to say, can't you

11   read my lips?   But it's a little joke with the masks.

12             All right.    Mr. Shipley, you're able to hear me

13   all right as well?

14             MR. SHIPLEY:    Yes, I can, Your Honor.       I could not

15   hear you before, but I can now.

16             THE MAGISTRATE:     All right.    Thanks so much.

17             So Mr. Denney, I'm Judge Faruqui; I'm going to be

18   handling this hearing today.

19             It's been quite a few twists and turns to get you

20   here, and so what we're going to go through is I want to

21   first understand exactly what's happened that got us here

22   today, and then I think the government has some facts maybe

23   they can help update me with, and then I'll be hearing from

24   Mr. Shipley to talk about kind of where we are and what we

25   have going forward.    So I'm going to need you to bear with
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                                                                      6

1    me as we go through this, because this is not the norm,

2    I can tell you that much.

3                I cannot begin to express how deeply frustrated

4    and apologetic I am on my end because you have been lost for

5    more than one minute or one hour or one day but for nearly a

6    month or longer, really, when you calculate it.

7                And, Mr. Denney, there's just no excuse to treat a

8    human being like that; I don't need to tell you that, but it

9    needs to be stated out loud.     That is not how I would want

10   to be treated if I were in your shoes.

11               And it bears repeating that you are presumed

12   innocent.    I don't care how you're dressed, where you came

13   from.   When I look at you, I see a presumed innocent person.

14   And there is no circumstance under which an innocent person

15   should be forgotten, and that is what happened here.

16               And the blame is not just on the United States

17   Attorney's Office, it's on everyone.       But that doesn't

18   matter because you're the person who's been sitting and

19   waiting, and none of my apologies or sorries are going to

20   make up for what happened.

21               But at the bare minimum, what I can do is just,

22   again, tell you I'm sorry.     I'm going to need you to bear

23   with me.    I can't promise you -- I want to be very clear:

24   I can't promise you that no matter what happened in the past

25   is going to get you what you've requested today in terms of
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                                                                       7

1    your motion to release or your motion to dismiss.         It is

2    possible, unfortunately, the law may not be on your side.

3              No matter what I say, I can tell you it is not the

4    final word on any of this.     Your counsel or the government

5    may choose to appeal my decision either today or at a later

6    date to the Chief Judge and ultimately that can get appealed

7    again.

8              But no matter what happens with your case, and I

9    may never see you again, I just want you to understand,

10   again; it is my job to make sure your rights are protected;

11   it is my job to remind you that you're presumed innocent.

12   And although it's not my job, I do think it is important

13   that I think about what would happen if I were sitting in

14   your shoes, and I would not like to be teated the way that

15   you have been treated.    So I am sorry, I truly am,

16   Mr. Denney.

17             So to begin with, Mr. Shipley or Mr. -- you're

18   going to be speaking?    Mr. Pierce?

19             Okay.   Mr. Shipley, I want to confirm, although

20   your client is here, I just want, for the record, understand

21   that you are agreeing to this proceeding occurring via audio

22   and video in light of the ongoing pandemic pursuant to the

23   CARES Act?

24             MR. SHIPLEY:    Yes, Your Honor.

25             THE MAGISTRATE:     Okay.   Great.
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                                                                      8

1              So as I see the procedural history, I want to lay

2    it out, and then we can talk about sort of where we are

3    today.

4              On December 7th, 2021, a complaint and arrest

5    warrant was issued by Judge Meriweather.

6              On December 13th, Mr. Denney was arrested in

7    Texas.

8              December 14th, he had an initial appearance before

9    Judge Collins White [sic].

10             Counsel was appointed; he was advised of his

11   rights pursuant to Rule 5, including his right to remain

12   silent, his right to counsel, one was appointed, informed of

13   the complaint.

14             He did have a detention hearing there, as

15   I understand it, and then he chose to have his preliminary

16   hearing saved for this jurisdiction.

17             On December 17th, a removal -- I'm sorry, a

18   detention hearing then occurred on December 17th, so three

19   days after the initial appearance.

20             So December 14th, he has an initial appearance;

21   December 17th, pursuant to the Bail Reform Act, the

22   government took its three days, and Judge Collins White

23   issued an order, and he said, although it is anticipated

24   that a formal preliminary hearing pursuant to Rule 5.1 will

25   be held in Washington, D.C. within the 14 days, for purposes
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                                                                        9

1    of the Bail Reform Act, Judge Collins White -- I'm sorry,

2    Collis White further ordered that he concluded that there

3    was sufficient probable cause to believe the defendant

4    committed at least one of the charges in a criminal

5    complaint filed on December 7th.

6              Then the removal proceedings are underway.         The

7    marshals, between December 17th and January 31st, took the

8    time to bring Mr. Denney here to this District.

9              The speedy trial statute allows for ten days of

10   time to be excluded.    And after that, then there is

11   exceptions for extreme circumstances, as well as with the

12   speedy trial exclusion on the interests of justice.

13             We'll talk about the relevant standards later, but

14   the point being obviously we -- we're beyond the ten days.

15   Mr. Denney got here on January 31st, because -- that's

16   right, right, Mr. Shipley?

17             MR. SHIPLEY:    That's the government's

18   representation, Your Honor.

19             THE MAGISTRATE:     Right.

20             MR. SHIPLEY:    And I've seen an email from the

21   Marshals Service --

22             THE MAGISTRATE:     Yeah.

23             MR. SHIPLEY:    -- to various parties advising that

24   he had arrived in the District on the 31st.

25             THE MAGISTRATE:     That's right.
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                                                                         10

1               I did have a question.      I saw that email.     That

2    was very helpful.

3               Mr. Rozzoni, I saw the email was to you and from

4    you.   I didn't know if you were just bcc'ing Mr. Shipley

5    or -- how did you get -- how did that email get to

6    Mr. Shipley?   I'm just trying to understand how the Court

7    has it.

8               MS. ROZZONI:    Your Honor, the original email was

9    sent to Mr. Yette, the duty attorney for the United States,

10   by the Marshals, along with the other recipients of that

11   email.

12              I then sent it to myself, Your Honor, to make it

13   an exhibit to our response to the motion for release

14   pursuant to Rule 5.1.

15              And so I believe that's the first time Mr. Shipley

16   may have seen that email; I don't think I sent it to him

17   otherwise.

18              THE MAGISTRATE:    Okay.    That makes sense.

19   Thank you.

20              And just one other question on that:

21   When Mr. Yette received the email on the -- on February 1st,

22   do you know what did he do with it between there and the

23   23rd, which is when you emailed the Court to ask for an

24   initial appearance?

25              MS. ROZZONI:    Your Honor, Mr. Yette forwarded that
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                                                                         11

1    to, I believe, the supervisors in the office, and then I

2    received it from Greg Rosen, one of the supervisors having

3    been assigned this case.     So I received it on February 1st.

4               THE MAGISTRATE:    Okay.

5               All right.    So we can fill in a few more facts

6    there.

7               It sounds like Mr. Yette then forwarded the email

8    to his supervisors on February 1st and then that got

9    forwarded to Mr. Rozzoni.

10              February 23rd, Ms. Rozzoni emailed the court

11   staff, requesting that we schedule an initial appearance.

12   The Court said there was -- due to availability, they said

13   the first remote hearing was March 10.        I believe that's why

14   there was -- what the question was between the 23rd and the

15   10th.

16              On March 2nd, Mr. Denney filed a motion for

17   release from custody under Rule 5.1(c).        And this indicated

18   that because of the government's failure to hold a

19   preliminary hearing within 14 days, that Mr. Denney should

20   have been released.

21              On March 3rd, I ordered the government to respond

22   right away.   They did.    Their response was that under

23   Rule 5.1, the 14 days should start after his initial

24   appearance here in D.C., which was scheduled for the 10th,

25   and, therefore, the preliminary hearing did not need to
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                                                                        12

1    occur until March 24th, if you add 14 days to the 10th.

2               Defendant then filed on March 4th its reply, and

3    Mr. Denney argued that the 14 days starts after his initial

4    appearance in the Western District of Texas, because the

5    initial appearance in this district is not an appearance

6    upon his arrest.

7               He also argued that Judge White's finding of

8    probable cause at the preliminary hearing was not one

9    sufficient for a preliminary hearing, just a probable cause

10   finding, because he himself said in it that there was going

11   to be a further hearing.

12              I then had some filings over the weekend.         So,

13   Mr. Denney say what you will, I can tell you your lawyers

14   are working, they're working lot on the weekend.         They've

15   got me working, too, which is fine, I don't mind, but they

16   are working for you.

17              And so on March 5th and March 6th, we had --

18   sorry, March 5th, we had a motion we received.         My clerk and

19   I, Ms. Rosen, reviewed, that defendant filed an emergency

20   motion to dismiss and for immediate release from custody.

21   And he argued that not only now should he be released but

22   that the complaint should be dismissed because the

23   government did not file an information or indictment within

24   30 days of his arrest, in violation of 18 U.S.C. 3161(b) and

25   3162(a)(1).
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                                                                          13

1               The defendant argued that the time exclusion for

2    transportation applies but had run out.        He asked for

3    dismissal with prejudice, which was, as he noted, that at

4    some point we're going to have make a decision but that

5    something has to be done essentially to correct this harm

6    that has been done to Mr. Denney.

7               On March 6th, Judge Howell indicated to me that --

8    and I believe it should be on the docket now -- that she's

9    referred the motion to dismiss for report and

10   recommendation.

11              I, as a magistrate judge, Mr. Denney, I can't rule

12   completely on your request to dismiss the case.         Ultimately

13   what happens is I can tell the Chief Judge what I think

14   ought to happen but then it's up to her and you'll have to,

15   again, I'm sorry, go before her.       But this is just -- this

16   will be the first instance in which I will begin this issue

17   but I will not be the final word on this by any measure.

18              What we have before us today is then the question

19   as to the status hearing as to what is going to happen today

20   as to, first, I want to take your motion for release.

21              Now, Ms. Rozzoni, I have looked at the grand jury

22   returns for today.    And so I don't know if you've had a

23   chance to speak to Mr. Shipley about that or it's news to

24   him, but I assume it's all right by you if I can go ahead

25   and bring the parties up to speed as to what I anticipate,
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                                                                          14

1    I don't know, or you can make a proffer as to what you

2    anticipate will happen in returns later this afternoon.

3               MS. ROZZONI:    Yes, Your Honor.

4               We did bring a case to the grand jury, and the

5    grand jury did issue and file a one-count indictment with

6    regard to Mr. Denney.     So that's what will come to the

7    returns this afternoon at 4:00 as I understand it, and so

8    there is an indictment pending, Your Honor.

9               THE MAGISTRATE:    Okay.

10              So let me -- not great news, Mr. Denney, but it's

11   not the end of the conversation.

12              So let's first step backwards.       And I want to be

13   very clear for the U.S. Attorney's Office perspective where

14   I sit on this.    And, Ms. Rozzoni, I want to be equally clear

15   here.   I hear every day, Mr. Yette -- the Court, who I have

16   the highest esteem for -- and your colleagues -- I am

17   someone who, in fact, used to be in the office.         Mr. Denney

18   [sic] was a prosecutor before I came here.

19              I don't doubt that this is the largest case in the

20   history of the Department of Justice.       I see every day, I

21   receive emails all weekend long and all evening long, late

22   into the night, in fact, on Saturday, continue to be related

23   to the January 6th incident from the U.S. Attorney's Office,

24   paralegals, legal assistants, who are working

25   extraordinarily hard to move this prosecution forward as
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1    they see fit.

2               And so I appreciate the impossibility of what's

3    being done by the U.S. Attorney's Office, but ultimately

4    that just does not matter to me, because I have to take --

5    just like to Mr. Denney, it doesn't matter to him that 690

6    other cases have gone through and no one has fallen through

7    the cracks.

8               And I hope to dear God no one else has fallen

9    through the cracks, I don't know.       But no one that myself

10   and the other magistrate judges are -- it does not matter if

11   the answer is that this was just a once, you know,

12   out-of-a-blue-moon things happen, because for Mr. Denney, if

13   I were Mr. Denney or I were Mr. Denney's family, that would

14   not bring me much solace, is that ultimately that's not my

15   problem, that's the government's problem.        The government

16   here has chosen to charge the largest case ever.         If they do

17   not have the resources to manage doing something of that

18   magnitude, they ought not do that, because you cannot charge

19   cases if you can't follow through with them.

20              So here I want to be very clear as to what my view

21   is.   My view is that the initial appearance, and I think the

22   case law would support this, is the initial appearance is

23   the arresting jurisdiction, it is not what happens in

24   Washington, D.C., which was going to happen here on

25   March 10th, but now is occurring today on March 7th, the
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                                                                           16

1    14-day period for preliminary hearing pursuant to 18 U.S.C.

2    3060 begins after initial appearance in the arresting

3    jurisdiction.

4               I would point you to United States versus

5    Villanueva 2007 Westlaw 1813922, Eastern District of

6    Wisconsin, pages 1 to 2; and also United States versus

7    Bagios, 2011 Westlaw 817856, Southern District of Florida

8    case, 2011 at page 4.

9               There the Court said, "This Court agrees with

10   defendant that the 14-day period begins upon his initial

11   appearance, regardless of where that initial appearance

12   occurs."

13              I think in addition, we've had about 700 of these

14   hearings here in our court.      And under Rule 5(d), the

15   initial appearance rule, we do not do all the things here in

16   this second court that is done in the first court.          I don't

17   advise everyone of the right to remain silent; I don't

18   advise them of every other right under Rule 5, because we're

19   of the view, and as I believe the government is because

20   they've certainly not said anything, that what happens here

21   is just a continuation -- the initial appearance has

22   happened and now we're just continuing the case forward.

23              So I don't think the government believes that this

24   is an initial appearance, if you look at it holistically,

25   because right now, Mr. Yette, Ms. Smith, Mr. Steiner, what
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                                                                             17

1    they've been going through every day, are 1:00 hearings for

2    the January 6th cases, we do not do a full Rule 5 hearing

3    here.   We do a truncated just looking through someone has

4    counsel and then talking about conditions of release.             But

5    that is it.    We don't talk about the charges brought before

6    them or anything else.

7               So I do believe that Mr. Denney was entitled to a

8    preliminary hearing within 14 days.       I do think we went way

9    over those 14 days.    If you had not been indicted in this

10   case, I would release you today, Mr. Denney.         Unfortunately,

11   the government did indict your case.       I don't think I have

12   much of a choice.    As I look at the statute, 18 U.S.C. 3060,

13   it says that I shall release someone if they do not get

14   their preliminary hearing.

15              However, as we look through the case law, and it

16   indicated an indictment has been brought, it does appear to

17   me that then the indictment moots much of this out.          So

18   that's United States versus Rogers, 455 F.2d 407, a

19   Fifth Circuit case from 1972.      "Once indicted," the Court

20   said, "the government was entitled to hold the defendant

21   under the indictment and he was not entitled to have the

22   indictment dismissed."

23              I'd also point you to the Vaughn case, which is

24   from the District of New Jersey in 2020, 492 F.Supp.3d 336

25   at page 334.    It lists every example of a related case,
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1    starting with Rogers, in this situation, and it indicates

2    that non-compliance is mooted by the finding of probable

3    cause to the return of indictment.

4               So although I do believe the government violated

5    your right to a preliminary hearing and I think they did not

6    just do it, they did it egregiously here, and I'll state why

7    in a moment, I do not believe that you have any remedy for

8    release in this situation.

9               I looked at the facts of your case, I don't even

10   think that I can hold another detention hearing because the

11   magistrate judge held it there.      But even if I were to,

12   Mr. Denney, I looked at the factors that Chief Judge Howell

13   has listed in the Chrestman case, and the factors there all

14   indicate to me that, based on what -- in terms of

15   pre-planning and post-planning, your membership in

16   organizations, that -- and the violence that is alleged to

17   have occurred, that you would be eligible for detention here

18   under that same standard.

19              And so I am utterly at a loss.       I don't know --

20   that's between Mr. Pierce and Mr. Shipley to decide if

21   there's some civil remedies, perhaps there are, for what

22   happened to you.    I don't know, I can't tell you, I can't

23   advise you of your rights.

24              But I am utterly at a loss as to the way that the

25   law is constructed is essentially someone can be held, lost,
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                                                                         19

1    for weeks, months on end, and if they just return an

2    indictment, which is no great challenge, that then I am

3    without any sort of remedy or anything to tell the

4    government what the heck just happened here.         That's in no

5    way fair to you, Mr. Denney, but I'm at a loss.         I'm going

6    to hear from Mr. Shipley if he thinks there's something else

7    I'm going to do, but I want to first get the full lay of the

8    land before we get to this.

9               Now, the reason that this case is particularly

10   egregious to me is that the cases that I all just referenced

11   are about typically transportation.

12              And here, I mean, I'd hear arguments from you,

13   Mr. Shipley, that the government here went way past what was

14   permissible in terms of their transportation.

15              But that is not the issue, all right?        The issue

16   is that on February 1st, the United States Marshals Service

17   communicated to the U.S. Attorney's Office that the person

18   that they had charged criminally, their choice, was brought

19   here, and then nothing happened for 22 days.

20              And so this -- if I look at the cases, there is

21   nothing that is like this.      And I'm sure again the

22   government's explanation will be not only is there COVID,

23   we've never prosecuted this number of cases.

24              But you don't get to stack the cases up.         Each

25   one's looked at in a vacuum.      And as I look at a vacuum,
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                                                                         20

1    I see a person's rights that have been trampled, and so I'm

2    trying to understand what I could do about that.

3               So ultimately, I do have one other request for

4    relief, and that's a request for relief to dismiss the

5    complaint for the Speedy Trial Act violation.

6               And Ms. Rozzoni, I can warn you that I think that

7    you're going to have to brief this very thoroughly, because

8    it does not take much to read the room, I am very unhappy

9    about what has happened, I do not certainly ascribe anything

10   badly on your part or any of your colleagues' part.          I am

11   sure this was, you know, at worst, through accident, that

12   more is just you all are overstretched and you have -- it

13   feels like the government a little bit has bitten off more

14   than they can chew here.     But the problem is that I'm not

15   just going to let Mr. Denney get chewed up and spit out.

16   There's got to be something.

17              And so, Mr. Denney, this is what the government is

18   going to ask for.    They're going to say, the cases I

19   referenced, particularly that Villanueva case from the

20   Eastern District of Wisconsin, and the Bagios case, they

21   look at this scenario.     They said that even if an indictment

22   comes forward and that covers up the blemish, right, we can

23   cover up the blemish of the 14 days.

24              Still the question is if they did wrong and it was

25   so wrong that I dismissed the case with prejudice, the
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                                                                        21

1    complaint, that's it, you're scot-free, the case is over.

2               That is an extraordinary remedy.       I can tell you

3    it very rarely happens.     I can absolutely assure you it's on

4    the table right now.     I think that your counsel is going to

5    have to work very hard on their end to explain to me why

6    this is an extraordinary circumstance.        And Ms. Rozzoni,

7    I'm sure, is going to have -- you know, she has a lot of law

8    to look at as well to explain to me why it should or should

9    not be dismissed with prejudice.

10              From my review, Ms. Rosen's, of the case law, as I

11   said, it is pretty rare that it happens.        But the problem

12   that I'm left with is that all of these cases I look at

13   where the case is not dismissed with prejudice, where it's

14   just without prejudice, we will just be doomed to repeat the

15   same failures.

16              The entire criminal justice system is based on

17   this principle that if you don't punish somebody, there's no

18   deterrent value.    And what happens in all of these cases is

19   the government just gets to wash their hands and say, sorry,

20   we got a grand jury return, we got an indictment, and so now

21   we're going forward with our case.       So there will continue

22   to be more Mr. Denneys.

23              And there is no way to quantify the harm of

24   someone being illegally detained for a minute or an hour.

25   But 22 days, I mean, that is extraordinary, and how
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                                                                         22

1    offensive it is to what this country is founded upon.

2               And so, you know, as I look at the cases and I

3    look at the case law, the standard is, it's a difficult one,

4    I think, for the defense.     I don't doubt that.      That's a

5    reason why most cases do not get dismissed with privilege,

6    because I have look at, under 18 U.S.C. 3162(a)(1), the

7    seriousness of the offense, the facts and circumstances of

8    the case which led to the dismissal, the impact of a

9    re-prosecution on the administration of the Speedy Trial Act

10   and on the administration of justice.

11              I can tell you the seriousness of the case, the

12   seriousness of the offense.      I'm sure Ms. Rozzoni will say,

13   and I don't think she's wrong, this is truly, some would

14   argue, one of the most serious offenses that has occurred in

15   the history of this nation, yet that does not justify the --

16   people who believe that and will say that from the

17   government is because they believe the Constitution and the

18   rights protected therein are a sacred document.

19              So we do not get to cut off our nose to spite our

20   face.   So we cannot say how serious this offense is and then

21   forget the whole point of continuing to prosecute these

22   cases, according to the government, is to ensure the

23   democratic principles the country was founded on, is to then

24   ignore them and ignore Mr. Denney's suffering.         I will not

25   do that.
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                                                                            23

1               So, Mr. Shipley, here's where I'm going to start.

2    I'm happy to hear from you as to the preliminary hearing.

3    I mean, I can't imagine -- not -- you're coming into a bit

4    of a buzzsaw, because you don't know that there was an

5    indictment returned.

6               So I'm happy to deny your request without

7    prejudice and you're welcome to go back and re-brief the

8    issue and see if you think that you can find some case law

9    that says otherwise.     I am pretty confident on that one that

10   I don't think that you have a path forward on that, but, of

11   course, I'll always hear anything you have to say, and

12   ultimately I don't think there's anything for you to do

13   right now.   I'm going to ask Ms. Rozzoni as to what she'd

14   like in terms of a briefing schedule.

15              I do think these are complicated issues, and these

16   are pretty unique.    Again, I would direct both parties.         To

17   me, the issue is not just the delay and the travel.          I mean,

18   that is an issue.    But what is far more egregious is that

19   knowing that Mr. Denney was here and nothing happened from

20   the 1st of February until today, March 7th.

21              So, Mr. Shipley, I don't know that you have -- if

22   you have anything to add, I'm happy to hear from you, but

23   I think maybe it's just right now in receive mode.

24              MR. SHIPLEY:    A couple things, Your Honor.       And I

25   appreciate Your Honor's position.
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                                                                            24

1                You know, there's a few ex-prosecutors and

2    prosecutors here.    I was an AUSA for 22 years.       This

3    procedure is not a mystery.      It's taught at the Nat.      I've

4    taught at the Nat.

5                You know, the idea that you don't remove somebody

6    from one district to another without a preliminary hearing

7    and indictment is pretty basic.      And if you don't know that,

8    then I question what you're doing.

9                And I want to add a fact that the Court's not

10   aware of.    The 22 days you've mentioned, the only thing that

11   prompted the government to set the hearing was that

12   Mr. Pierce, at my request, asked if there was an indictment

13   planned.

14               I was looking initially at appealing the detention

15   hearing out of Texas.     That's what my focus was on.        And as

16   I looked at the docket, after reading the complaint and

17   formulating some thoughts about whether we could -- I mean,

18   he has an automatic right to appeal to a judge in this

19   district, a foreign magistrate's decision to detain him, and

20   that's where my focus was, and it took me only a little bit

21   of time to realize the government screwed up.

22               Now, I think that's compounded here in two ways;

23   one, instead of a prosecutor coming to the Court and saying,

24   we screwed up, they come to the Court and they say, oh, no,

25   we didn't do anything wrong, we have another 14 days
     Case 1:22-cr-00070-RDM Document 38 Filed 04/08/22 Page 25 of 58

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1    starting here when he makes his appearance on the 10th,

2    which is absurd, and that's why I called it legally

3    illiterate in my reply.

4               The other -- so the 22 days only gets started

5    because we asked.    That was on the 23rd.      That led

6    Ms. Rozzoni to contact the Clerk's Office to say, oh, we

7    need to get something scheduled here.

8               The next scheduled date was the status conference

9    in April that was the result of a 60-day continuance between

10   the government and the co-defendant.       You know, had I not

11   realized what had happened here, Mr. Denney would be sitting

12   for another 45 days waiting -- or -- well, 45 days back in

13   time, basically, but another three weeks until that

14   appearance in early April.      So the government gets no credit

15   for coming to the court on the 23rd and saying, we need to

16   schedule something, you know.

17              And finally, I guess the last thing I would say

18   is, I am irritated, to say the least, by the fact that the

19   government runs to the grand jury today to get a one-count

20   indictment, which I think can't be read as anything other

21   than a concession that they screwed up.

22              I'm going to ask the Court, as I said, we're

23   entitled to a de novo detention hearing in this district,

24   even on that indictment.     That indictment is obviously

25   subject to a motion to dismiss for violation of 3161(a).
     Case 1:22-cr-00070-RDM Document 38 Filed 04/08/22 Page 26 of 58

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1    You know, they didn't get it within 30 days.         That

2    indictment -- it doesn't matter whether -- you don't just

3    dismiss the complaint.     The indictment is subject to

4    dismissal with prejudice for violation of the statute.

5               There were no extensions, no exclusions of time.

6    The -- you know, that's -- and I noted that the Court -- the

7    case the Court cited from '72, the Rogers case out of the

8    Fifth Circuit, you know, that's before the Bail Reform Act,

9    that's before 3161 was passed.

10              Or not the Bail Reform Act, the Speedy Trial Act.

11   That's a pre Speedy Trial Act case.       So I'm not sure that

12   that case stands up, in light of Congress's determination

13   that indictments filed after 30 days are subject to

14   dismissal.   And, again, we're going to have to brief that.

15              But I'm going to add one more fact the Court is

16   not aware of.   The Court won't be able to review what

17   happened in Texas.    I was advised on Friday by the

18   court reporter in Texas that the audiotape of the

19   December 17th detention hearing is not useable, no

20   transcript can be created.      The record volume was set too

21   low, they've tried to enhance, and they can't do it.          So we

22   won't know what happened in Texas on the 17th.

23              So, you know, I understand the Court's position,

24   I understand that your authority is limited.         I saw

25   Judge Howell's reference to a report and recommendation.          So
     Case 1:22-cr-00070-RDM Document 38 Filed 04/08/22 Page 27 of 58

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1    you have work to do to ship it to her and then she has to

2    sign it.   I understand all that.      But I don't think that

3    changes the fact that today, because of everything that has

4    happened, that Mr. Denney should be walked out the front

5    door of the courthouse.

6               Now, we can address the issue of whether the new

7    charge stands or doesn't stand and whether or not he can be

8    arrested again or not arrested again and whether or not that

9    will result in a release on conditions -- terms and

10   conditions or detention.     Those are all issues for the

11   future.

12              But I think today the only equitable and fair

13   thing to do is to release Mr. Denney on conditions of

14   supervised release.    And if the government wants to move to

15   revoke those, we can address that.

16              But, you know, as the Court notes, and I think

17   earnestly feels, to say that Mr. Denney gets nothing, you

18   know, as a result of the egregious misconduct -- and then --

19   and not just -- you know, I could accept mistakes being

20   made, but then to essentially take a highly dubious legal

21   position before the Court and then run to the grand jury to

22   get a single-count indictment that probably took five

23   minutes, all to save themselves, it's just -- it's

24   outrageous conduct.    The Court should not comment.

25              THE MAGISTRATE:    I hear you, Mr. Shipley.
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1                I think that, you know, as I review the case law,

2    it doesn't look like -- again, this is an issue that's come

3    up a bunch before.    And it's not something that's been

4    heavily litigated before, I'm not in a position to overturn

5    another magistrate judge's determination; however, if the

6    complaint should have been dismissed, I understand your

7    argument is that wouldn't that then set up a new detention

8    hearing de novo.

9                My review of the case law is the answer is no.        If

10   you want to brief that, I'm happy to read whatever you'll

11   send us.    I'll point you, as I said, to the cases that I

12   referenced.

13               Ms. Rozzoni, I'm happy to hear from you in

14   response.    I think let's start with first, I believe the

15   government continues to ask for and believes that the

16   detention order is in place as to the defendant; is that

17   right?

18               MS. ROZZONI:   It does, Your Honor.

19               THE MAGISTRATE:   Okay.

20               And so I'm happy to hear from -- anything you want

21   to add.    I think right now, you know, my main request from

22   you is just, I need you to brief this issue, you know, to

23   flag for the parties.

24               I've looked at recent filings by the

25   U.S. Attorney's Office in terms of there was another case
     Case 1:22-cr-00070-RDM Document 38 Filed 04/08/22 Page 29 of 58

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1    that had a Speedy Trial Act -- and that's what we're talking

2    about here.   I want to be very clear.      I want to focus up,

3    tee up what we're talking about.

4               I don't think the preliminary hearing 14-day clock

5    being blown is the basis now to dismiss the indictment.

6    I think the clear issue is the 30 days have passed to charge

7    formally Mr. Denney.

8               The fact that Mr. Denney was in Texas or was in

9    D.C. is really irrelevant, because no one that went into

10   grand jury today was in Texas, and I think the case law

11   talks about that.    One of the things they talk about is what

12   difference does it make where the defendant was.         That's not

13   who was going into the grand jury.       The government could

14   have done it anyway.

15              And so I want us, in my mind, now, Mr. Shipley,

16   you can always broaden the aperture if you want to.          But in

17   my mind what I think is ripe -- all that's left for the

18   Court today is the question of, do you dismiss this case

19   with or without prejudice or not at all, of course,

20   Ms. Rozzoni, that's certainly an option as well.         But what

21   are the -- of those three options, what do I do?         And

22   I believe the only basis really set forth now is the failure

23   to indict the case within 30 days.

24              There is the brooding omnipresence of the Chief

25   Judge's standing order as to the Speedy Trial Act.          As I've
     Case 1:22-cr-00070-RDM Document 38 Filed 04/08/22 Page 30 of 58

                                                                        30

1    looked at the government's other pleadings in recent cases

2    where they've blown through their Speedy Trial Act, I don't

3    think that there is really much clarity.

4               I will tell you right now, and so to tee up the

5    issue, the Chief Judge's standing order -- and I can tell

6    you both, one moment, where that pleading came from.          It

7    is -- here we go.    20-MJ-174.    The government missed their

8    speedy trial obligation to charge a case by months,

9    I believe.   Now, it looks like they've reached a disposition

10   in that case.   I don't know if the case is no longer being

11   contested.

12              However, in that case, the government cited to

13   Chief Judge Howell's standing order.       The standing order

14   says:   "Due to considerations of the COVID pandemic and,

15   particularly, the Court's reduced ability to obtain an

16   adequate spectrum of prospective jurors due to juror

17   concerns regarding health and safety, the Court makes the

18   following findings pursuant to the Speedy Trial Act as to

19   criminal jury trials postponed under this order."

20              And I'm sure, Mr. Shipley, you will say, and

21   I believe there's a good argument to be made, that this

22   deals with the actual -- after the case is charged, because

23   it's talking about concerns regarding the health and safety

24   of impaneling a jury.     Well, the grand jury has been

25   impaneled and they have been working quite busily for over a
     Case 1:22-cr-00070-RDM Document 38 Filed 04/08/22 Page 31 of 58

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1    year, and it seems to be really focused on criminal jury

2    trials.

3               But I will tell you in that pleading, the

4    government simply cites, and, Ms. Rozzoni, I'd ask you to

5    please do not do what they do did there, which is simply

6    cite her order.    I want to understand why you believe this

7    standing order excludes time as to my issue, a

8    magistrate judge's consideration of the 30 days to formally

9    charge a case, because I think there's an argument

10   Mr. Shipley will certainly make, and I am -- her language

11   there seems like it may be limited to just after a case is

12   formerly charged.

13              So I don't know.     I don't think there's a clear

14   answer to that, and ultimately I think -- did we lose

15   Mr. Shipley -- oh, there he is -- I think you're going to be

16   back before the Chief Judge on this anyway.        So you're going

17   to be trying to interpret her language, but obviously she

18   ultimately will make a finding in how she wants to rule.

19   And I'm sure, Mr. Shipley, you may have arguments why you

20   think that standing order does or does not apply, I don't

21   know, but I'll leave it for you.

22              But, Ms. Rozzoni, I'm sure you're going to want to

23   rely on that.   And if you do, I just ask you, I'm teeing it

24   up for now so we don't have to go back and forth, is let's

25   get a little deeper into this than your colleague did in
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                                                                         32

1    that case to figure out whether or not the standing order is

2    sufficient to automatically exclude the time.         And, again,

3    if that is the case, I'm back in the situation where what do

4    I say to Mr. Denney, how do I look him in the eyes and tell

5    him that he's going to have a fair case here and that he's

6    going to have the fair administration of justice when

7    there's not one but multiple screw-ups and then I just have

8    to say, Mr. Denney, trust me, we're going to do better.           I'm

9    quite fearful, Mr. Denney, that is what the government is

10   going to tell me and I don't know.

11               I mean, I'm going to follow the law, that is all I

12   could do.    And, you know, I understand why Mr. Shipley is

13   very upset and angry.      You know, we've let you down, and I

14   don't know what we can do about it.

15               So, Ms. Rozzoni, that's all I have.       Anything else

16   on your end?

17               MS. ROZZONI:    No, Your Honor.

18               Only that I would agree with you that I believe

19   that the issue is going to be whether or not you dismiss

20   this case with or without prejudice, and the government will

21   be happy to brief that issue for the Court on a timeline

22   that the Court sets.

23               THE MAGISTRATE:    Okay.   What are you thinking in

24   terms of your timeline?

25               MS. ROZZONI:    It would be -- the question would be
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1    whether or not you'd want the government to first file or

2    you'd want Mr. Shipley to, perhaps, supplement what he has

3    already filed, because I know it was a short turnaround for

4    him on Saturday.    I'm happy to file the first brief but --

5               THE MAGISTRATE:    Sure.

6               MS. ROZZONI:    -- whatever the Court would like.

7               THE MAGISTRATE:    Yeah, Mr. Shipley, do you have

8    anything you want to supplement with?       Because I need you to

9    address that standing order, and I encourage you -- did you

10   get that cite I just gave you, the other speedy trial brief?

11              MR. SHIPLEY:    I did not, Your Honor.

12              Could you just give me the case number --

13              THE MAGISTRATE:    Of course.    Yeah.

14              MR. SHIPLEY:    -- and we'll find it?

15              THE MAGISTRATE:    20-MJ-174, United States of

16   America versus Glen Bond, B-o-n-d.       The AUSA is

17   AUSA Buckner, I believe.

18              MR. SHIPLEY:    Thank you, Your Honor.

19              THE MAGISTRATE:    Yep.

20              MR. SHIPLEY:    What I would suggest, and it's just

21   a suggestion and I'm open to contrary suggestions is, I've

22   looked at the case law on the -- with prejudice over without

23   prejudice issue.

24              I, you know, in the back of my head, I had a

25   suspicion that the government would run in and grab a quick
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                                                                         34

1    indictment today.    Again, you know, not my first rodeo here;

2    I've seen these problems arise, you know.        If I was an AUSA

3    in this position, that probably would have been my first

4    thought.

5               So I've asked that it be dismissed.        And I've

6    looked at the case law, but -- so I kind of know what the

7    standard is, but it was a very cursory examination, I didn't

8    do a deep dive, looking around at other Circuits.

9               THE MAGISTRATE:    Sure.

10              MR. SHIPLEY:    So I think the issue is teed up.

11   And if the government would go first and then I can

12   respond --

13              THE MAGISTRATE:    Sure, that sounds good.

14              MR. SHIPLEY:    -- that would be my preference.

15              THE MAGISTRATE:    That sounds great.

16              So, Ms. Rozzoni, I mean, what do you want?         Do you

17   want till Friday?    Do you need till Monday?      I mean, I

18   just -- this needs to be pretty thorough, that's my main

19   issue here.

20              MS. ROZZONI:    It does, Your Honor.

21              I understand the concerns of the Court, but it

22   needs to be thoroughly briefed, and so I would ask for a

23   week or until Monday, if that is possible --

24              THE MAGISTRATE:    Yep, that's fine by me.

25              MS. ROZZONI:    -- if the Court is going to indulge
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                                                                         35

1    that.

2               THE MAGISTRATE:    Yep, I am.

3               And so, Mr. Shipley, how long do you want to

4    respond to that?

5               MR. SHIPLEY:    Your Honor, we'll be working on it

6    in advance to see government's option.

7               THE MAGISTRATE:    Sure.

8               MR. SHIPLEY:    So I think if it comes to me on a

9    Monday, I will do everything I can to have the reply done by

10   Thursday of that week.     And if I need a day or two longer,

11   I'll consult with Ms. Rozzoni about it.

12              THE MAGISTRATE:    Okay.

13              Do you want to set the hearing then for -- let's

14   just set a status hearing -- so when does the co-defendant

15   have his status hearing?     That's in - did you say it's in

16   April or was it in March?     Sorry.

17              MR. SHIPLEY:    I believe it was -- it was by

18   stipulation; it's on the docket.

19              THE MAGISTRATE:    Ms. Rozzoni, do you know?

20              MS. ROZZONI:    Your Honor, I believe it is -- yeah,

21   I believe it is in April.

22              THE MAGISTRATE:    Okay.    Great.   Yeah, no problem.

23              So why don't we set a hearing on this for the

24   20 -- Ms. Lavigne-Rhodes, how does the 22nd look?

25              Either in person or remotely, whatever is easiest.
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1               How about the 22nd at 2:00?

2               Go ahead, Mr. Shipley.

3               MR. SHIPLEY:    Yeah, 2:00.    That's fine,

4    Your Honor.

5               In case you haven't zoned in on it, I'm in Hawaii.

6    By that point, I'll have a six-hour time difference from the

7    Court.

8               THE MAGISTRATE:    I'm sorry, where are you?

9               MR. SHIPLEY:    Hawaii.

10              THE MAGISTRATE:    Okay.    Well, there you go.        Wow.

11   Okay.    2:00's all right for you?

12              MR. SHIPLEY:    Yeah, I can do that.

13              THE MAGISTRATE:    Okay.

14              Do you want us to go later?      It's easy for us.

15              MR. SHIPLEY:    No, no, 2:00's fine.      I'll have four

16   or five cups of coffee in me by 8:00 a.m.

17              THE MAGISTRATE:    All right.    Sounds good.

18   If that's what you've had today, maybe we'll go down to

19   three, but all right.

20              Ms. Rozzoni, how about you, does that work?

21              MS. ROZZONI:    It does, Your Honor.

22              THE MAGISTRATE:    Okay.

23              So I think we'll set this for the 22nd at

24   2:00 p.m. for a hearing on the motion to dismiss with or

25   without prejudice.
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1                Of course, Mr. Shipley, you're welcome to continue

2    in your response why if you think that we should have a

3    detention hearing that day or anything else, any other

4    remedies you want on the table, just put it on there.

5                MR. SHIPLEY:   Your Honor, by statute, he's

6    entitled to a de novo review in the District of Columbia

7    forthwith or without delay, I can't remember the exact

8    language.

9                THE MAGISTRATE:   Yeah.

10               MR. SHIPLEY:   Because the only thing holding him

11   is a foreign magistrate's decision, and I'm going to look at

12   filing that a lot sooner.

13               THE MAGISTRATE:   Yeah, if you want to file

14   something separate --

15               MR. SHIPLEY:   We might have to do them both at the

16   same time.

17               THE MAGISTRATE:   Yeah.

18               If you have something that you think you want to

19   be heard on that, please do.

20               Again, as I looked at the Rogers case and the

21   Smith case, Villanueva, and Vaughn, Smith case, I think

22   I gave you the cite, that's a Western District of Virginia

23   case.   The Villanueva case is an Eastern District of

24   Wisconsin case.    And the Vaughn case, that's a district in

25   New Jersey.
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1               And the Vaughn case really sets out the most.

2    It seems to me that this really -- it seems to me like that

3    is -- and I just don't understand it, but that seems to be

4    the way the case law comes out.

5               MR. SHIPLEY:    Well, I think that some of those

6    cases that I read -- and I can't say they matched up

7    exactly --

8               THE MAGISTRATE:    Yeah.

9               MR. SHIPLEY:    -- with the citation that the

10   Court's giving, in almost every one of those cases of

11   extensive delay, the defendant wasn't in custody.

12              THE MAGISTRATE:    Yeah.

13              Well, I mean, yeah, you've got to look at it,

14   you've got to lay it out for me, Mr. Shipley.

15              MR. SHIPLEY:    Right.

16              THE MAGISTRATE:    I am an amenable audience for

17   sure, but I mean, I do have to follow the law similarly.

18              MR. SHIPLEY:    Understand, understand.

19              THE MAGISTRATE:    Yeah.

20              So I don't think we can arraign your client on the

21   indictment either because it's not yet been returned and

22   then you need an opportunity to go over it with him.          So

23   we'll set that next hearing date also for the arraignment.

24              Does that make sense, Ms. Rozzoni?

25              MS. ROZZONI:    It does, Your Honor.
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1               THE MAGISTRATE:    All right.

2               MR. SHIPLEY:    And we're not -- on the arraignment,

3    that's kind of perfunctory.      We're not in a hurry to have to

4    come back to court to do that.

5               THE MAGISTRATE:    Sure.

6               MR. SHIPLEY:    We can do that at a future hearing

7    that's already set.

8               THE MAGISTRATE:    Okay.

9               Now, in terms of speedy trial exclusion between

10   now and the next hearing date, I believe that there is now

11   Mr. Shipley's pending motion for dismissing the

12   indictment -- well, dismissing the complaint, and I assume

13   now that incorporates the indictment.       And so I believe that

14   that is an automatic exclusion with that pending motion.

15              Ms. Rozzoni, would you -- is that your position?

16              MS. ROZZONI:    I agree with that, Your Honor, yes.

17              THE MAGISTRATE:    And Mr. Shipley?

18              MR. SHIPLEY:    That's fine, Your Honor.

19              But I want to note one other thing.        I don't have

20   the statutory reference off the top of my head, but I am

21   relatively confident that in this circumstance the time that

22   has already run on the 70-day clock cannot be recaptured.

23   You know, the time on the 70-day clock starts today, but

24   it's only the time that remains, and I believe it's only 24

25   days.
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                                                                        40

1               THE MAGISTRATE:    Okay.    Well, I think that's a

2    really -- I appreciate you teeing that up.

3               Mr. Rozzoni, you're probably going to want to

4    include that in your pleading somewhere just so we can all

5    get on the same sheet of music, or at least, again, when I

6    send this to Chief Judge Howell for an R&R that I've seen in

7    her previous cases that when she's ruling on speedy trial

8    exclusion, she has gone through and made a count.         One

9    moment.

10              Yeah, United States v. Beler, B-e-l-e-r, I'd point

11   you to that.    Now, that is not the case -- and I don't think

12   that case will be -- or perhaps it will be helpful.          I don't

13   think it's too helpful to our current situation in terms of

14   what to do.    That was one where there was a motion pending;

15   however, the Beler case was one where -- and that's where

16   Chief Judge Howell said that it has to be a report and

17   recommendation, because a magistrate judge is not authorized

18   to dismiss an indictment; however, you will see there she

19   spends quite a bit of time going and making sure that the

20   computation of whatever it is of time is correct.         Let me

21   get that cite for you.     One second.    It is 19-MJ-100,

22   United States versus Beler.      The Westlaw citation is 2019 WL

23   5789747.

24              So I would recommend you all take a look at that

25   as well.   I mean, it's going to give you, I think, a fairly
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                                                                         41

1    decent idea of what some of the positions the Chief Judge

2    has as to the Speedy Trial Act and how seriously she's going

3    to take this, which is very seriously.

4               All right.    Mr. Denney, we've got to be limited in

5    what you can say because you are -- you have your right to

6    remain silent but do you have -- you can come up to the

7    lectern.

8               Do you have any questions or concerns you want to

9    raise with me, understanding what's going on?         Do have any

10   questions?   I understand there's a lot of legal stuff that's

11   going on, it's hard to keep up, but it's your life, you're

12   the one that's got to walk away and go back where you're

13   going to go and we're all going our own way.

14              So if you're not sure about something, I need you

15   to speak up, because I can't help you if you don't tell me

16   what's going on, okay?

17              Talk to Mr. Pierce, that's right.

18              (Defense counsel conferred with the defendant off

19   the record.)

20              MR. SHIPLEY:    Your Honor, if I might ask.

21              THE MAGISTRATE:    Sure.    Go ahead.

22              MR. SHIPLEY:    And I don't know how we could do it

23   logistically there.     But I would like to hear what my client

24   is going to say from him before he speaks up before you.

25              THE MAGISTRATE:    Sure.
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                                                                       42

1                Can I rely on Mr. Pierce and him to just speak to

2    each other and then see if Mr. Pierce can relay that to you?

3                MR. SHIPLEY:   That's fine, Your Honor.

4                THE MAGISTRATE:    Okay.

5                Mr. Pierce, do you want to come up to the lectern?

6                Are you comfortable with your client saying

7    anything?    You don't have to.    I just --

8                (Defense counsel conferred with the defendant off

9    the record.)

10               THE DEFENDANT:    Can you hear me?

11               THE MAGISTRATE:    Yeah, I can hear you all right.

12               THE DEFENDANT:    I don't know -- hold on a second.

13   I've also gone this whole time without my medicine for PTSD

14   and stuff like that, so it's all messed up.

15               THE MAGISTRATE:    I'm sorry to interrupt you.

16               Are you getting that now or you're still not

17   getting that?

18               THE DEFENDANT:    Still not getting it.

19               THE MAGISTRATE:    Okay.

20               Ms. Lavigne-Rhodes, can we -- we'll send over a

21   medical alert order.

22               She's going to send it over to Mr. Shipley or is

23   it just easier to get it from Mr. Pierce here.

24               What's easier, Ms. Lavigne-Rhodes?

25               MR. SHIPLEY:   Yeah, Your Honor.     And I should have
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                                                                       43

1    mentioned that.

2               Mr. --

3               THE MAGISTRATE:    No problem.

4               MR. SHIPLEY:    Mr. Denney is -- he's treated at the

5    VA, he's an Army veteran, he has a disability of

6    100 percent, he has medical conditions.        He has asked for

7    medical review at Northern Neck, and he tells me he's never

8    seen a doctor at Northern Neck.

9               THE MAGISTRATE:    Okay.

10              Well, we gave Mr. Pierce now a medical alert form.

11   He can communicate with you, Mr. Shipley, about either

12   getting that signed.

13              Basically just indicates on there, Mr. Denney,

14   that have a medical issue, and that way I can order to make

15   sure that Northern Neck has -- seeing you and getting you

16   the medical care you need.

17              We can also email it to you, Mr. Shipley.

18              MR. SHIPLEY:    Your Honor, if I can ask one more

19   thing, and I know the Court may be limited in this regard,

20   but, you know we have very good communication process set up

21   with our clients who are at DOC.

22              THE MAGISTRATE:    Yeah.

23              MR. SHIPLEY:    And Northern Neck is a little more

24   difficult --

25              THE MAGISTRATE:    You, I got you, Mr. Shipley, yes.
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                                                                        44

1               MR. SHIPLEY:    I would ask the Court to direct the

2    Marshals Service to move him to DOC if he's going to remain

3    in custody two more weeks and it will be much easier for us

4    to communicate with him.

5               THE MAGISTRATE:    I can only ask the Marshals

6    Service.   I can't direct them, unfortunately, to do that.

7    However, I will make that request in light of his need to

8    communicate with you, the unique facts of this case, as well

9    as medical issues that are not being addressed at Northern

10   Neck adequately.

11              I will ask the Marshals Service.       I'll reach out

12   to the United States Marshal and make that request

13   personally.

14              So I want to make sure --

15              MR. SHIPLEY:    Thank you, Your Honor.

16              THE MAGISTRATE:    -- we first get on the same sheet

17   of music about this medication.

18              Mr. Denney, if you're not getting your medication,

19   you need to tell the folks at Northern Neck, or if we get

20   you to D.C., that the judge ordered that you get that

21   medication.

22              You need to let Mr. Shipley or Mr. Pierce know

23   you're still not getting it, and I will get involved with

24   the General Counsel of that facility and let them know,

25   because, remember, I am the person locking you up, it's not
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                                                                          45

1    Ms. Rozzoni, it's not the United States Attorney, it is me,

2    it's my obligation when I am the person who's putting you

3    back there, that you're taken care of and getting your

4    rights, okay?

5               So the only person to be mad at is me because

6    I'm not doing my job if I don't get you that medication.

7    I'm going to make sure you get it and what you need to.

8               As an aside, whenever I have a veteran in the

9    court, I always take a moment to thank them, because you

10   have done so much for our country, and I appreciate your

11   service, all right?

12              THE DEFENDANT:    Thank you, sir.

13              And thank you for taking this seriously and stuff

14   like that.

15              This is all -- this is affecting all my family.

16   And I have two teenagers that -- I'm a single dad, I have

17   primary custody of them and they live with me.         And ever

18   since all this, this has really been so rough on them.            They

19   went from A and B students to all Fs and they're failing

20   every grade in their schools.      And they need me and I need

21   them.

22              And this whole thing of being lost and everything

23   and what's happened to me has been not just hard on me, it's

24   been hard on them, and their lives are changing.         I guess

25   that's all.   That's my concern.
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                                                                       46

1               THE MAGISTRATE:    I got you, Mr. Denney.

2               I'm a dad as well, I appreciate your concern about

3    your kids, I'm sure this is hard on them.

4               All I can tell you is you're going to have to be

5    patient, which is very easy for me to say where I'm sitting.

6    But it's what you're going have to do.        You've seen

7    Mr. Shipley, you've seen Mr. Pierce here, they're fighting

8    hard for you.

9               THE DEFENDANT:    Yes, sir.

10              THE MAGISTRATE:    And, again, I can't state enough,

11   I don't think the government is doing anything -- they're

12   not trying to ruin your life, they're not trying to screw

13   things up.   It may not feel like that, but that doesn't mean

14   they still don't have to account for what's happened.

15              But at the end of the day, I think that you're --

16   I hope that your kids are going to see that you're trying to

17   do the right thing right now, that you're being respectful,

18   you're trying to work with your lawyers and work within the

19   bounds of justice, and I hope that they take some lesson

20   from that.

21              You know, it's easy to be a good parent in a good

22   situation.   You're trying to be a good parent in a hard

23   situation.   So you should be proud of yourself for that.

24   It's very hard to do, and that's a lesson that your kids

25   will learn something from, I hope.
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                                                                         47

1               THE DEFENDANT:    I think that's all I can think to

2    say.

3               THE MAGISTRATE:    All right.    You're good.     Just

4    take care of yourself.     Keep me posted about this medical

5    issue and make sure you're talking to your lawyers, okay?

6               THE DEFENDANT:    Yes, sir.

7               THE MAGISTRATE:    All right.

8               So we got that medical alert to Mr. Pierce, we'll

9    send it to you as well, Mr. Shipley, if need be.         Just let

10   us know.   If you could just turn that around quickly, then

11   we can get that over to the jail.

12              I'll also speak to the United States Marshal to

13   see.   You know, unfortunately, we're just very limited with

14   what's going on at the jail to get people there or even see

15   if Alexandria, there's another facility.        But I'll ask.

16   There's no harm in me asking.      But that's the best,

17   unfortunately, I can do in terms of the jail.         That's really

18   the purview of the Department of Justice, okay?

19              MR. SHIPLEY:    Understand, Your Honor.

20              THE MAGISTRATE:    All right.    So we're going to

21   come back on the 22nd.

22              Anything else, Mr. Shipley, on behalf of yourself

23   or your client, for the defense?

24              MS. ROZZONI:    Nothing today, Your Honor.

25              THE MAGISTRATE:    All right.    Thank you for
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                                                                        48

1    bringing this issue before the Court, Mr. Shipley.          Your

2    credit, as Mr. Pierce, to your client that you're staying on

3    top of this stuff.    I appreciate it.     Thank you so much.

4    I apologize that we were not there to pick this up on our

5    own.

6               Ms. Rozzoni, anything else on behalf of the

7    United States?

8               MS. ROZZONI:    No, Your Honor.     Thank you.

9               THE MAGISTRATE:    Okay.    The parties are excused.

10   That's if it for today.

11              (Proceedings concluded at 3:02 p.m.)

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                      C E R T I F I C A T E
                I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.
                Please note: This hearing occurred during
the COVID-19 pandemic and is therefore subject to the
technological limitations of court reporting remotely.




Date:__March 9, 2022_______       ____________________________
                                  William P. Zaremba, RMR, CRR
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